Case 6:23-cv-00871-CEM-DCI Document 186-1 Filed 09/06/24 Page 1 of 5 PageID 3617




                 EXHIBIT 1
Case 6:23-cv-00871-CEM-DCI Document 186-1 Filed 09/06/24 Page 2 of 5 PageID 3618
Case 6:23-cv-00871-CEM-DCI Document 186-1 Filed 09/06/24 Page 3 of 5 PageID 3619
Case 6:23-cv-00871-CEM-DCI Document 186-1 Filed 09/06/24 Page 4 of 5 PageID 3620
Case 6:23-cv-00871-CEM-DCI Document 186-1 Filed 09/06/24 Page 5 of 5 PageID 3621
